             Case 23-90773 Document 85 Filed in TXSB on 09/21/23 Page 1 of 4




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                        Chapter 11
    In re:

    NOBLE HOUSE HOME FURNISHINGS LLC, et                                Case No. 23-90773 (CML)
    al.,
                        Debtors. 1                                      (Jointly Administered)


     NOTICE OF AUCTION FOR THE SALE OF THE DEBTORS’ ASSETS FREE AND
       CLEAR OF ANY AND ALL CLAIMS, INTERESTS, AND ENCUMBRANCES


         PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession
(collectively, the “Debtors”) are soliciting offers for a transaction or transactions, any of which
may include the purchase of some or all of the Debtors’ Property and assumption of certain
liabilities of the Debtors, consistent with the bidding procedures (the “Bidding Procedures”)2
approved by the United States Bankruptcy Court for the Southern District of Texas (the “Court”)
by entry of an order on September 19, 2023 [Docket No. 81] (the “Bidding Procedures Order”).
All interested bidders should carefully read the Bidding Procedures and Bidding Procedures
Order. To the extent that there are any inconsistencies between this notice and the Bidding
Procedures or the Bidding Procedures Order, the Bidding Procedures or the Bidding Procedures
Order, as applicable, shall govern in all respects.

Copies of the Bidding Procedures Order or other documents related thereto, including the
Stalking Horse Purchase Agreement or an exhibit identifying the Property, as applicable,
are available upon request to Epiq by calling 833-909-4386 or visiting the Debtors’
restructuring website at https://dm.epiq11.com/NobleHouseHomeFurnishings


       PLEASE TAKE FURTHER NOTICE that the Bid Deadline is October 18, 2023, at
5:00 p.m. (prevailing Central Time), and that any person or entity who wishes to participate in
the Auction must comply with the participation requirements, bid requirements, and other
requirements set forth in the Bidding Procedures.




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      The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
      numbers, are: Noble House Home Furnishings LLC (1671); Best Selling Home Decor Furniture, LLC (5580),
      Le Pouf, LLC (8197), NH Services LLC (9626), and Heavy Metal, Inc. (3124). The Debtors’ service address in
      these Chapter 11 cases is 700 Milam Street, Suite 1300, Houston, TX 77002.
2
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Bidding
      Procedures Order or the Bidding Procedures, as applicable.

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DOCS_LA:351266.1 61051/002
          Case 23-90773 Document 85 Filed in TXSB on 09/21/23 Page 2 of 4




       PLEASE TAKE FURTHER NOTICE that the Debtors intend to conduct the Auction, at
which time they will consider proposals submitted to the Debtors and their professionals, by and
pursuant to the Bidding Procedures as set forth in the Bidding Procedures Order, beginning on
October 23, 2023, at 10:00 a.m. (prevailing Central Time) via videoconference or such other
form of remote communication arranged by counsel to the Debtors.

       PLEASE TAKE FURTHER NOTICE that the Debtors expect to seek approval of any
Sales at the Sale Hearing, which is presently scheduled to commence on October 25, 2023, at
1:00 p.m. (prevailing Central Time), or as soon thereafter as counsel may be heard, before the
Honorable Christopher M. Lopez in the United States Courthouse, 515 Rusk Street, Houston,
Texas 77002.

        PLEASE TAKE FURTHER NOTICE that, except as otherwise set forth in the Bidding
Procedures Order with respect to objections to proposed cure amounts or the assumption and
assignment of Assigned Contracts, objections, if any, to a proposed Sale must: (a) be in writing;
(b) conform to the applicable provisions of the Bankruptcy Rules and the Bankruptcy Local Rules;
(c) state with particularity the legal and factual basis for the objection and the specific grounds
therefor; and (d) be filed with the Court by October 24, 2023, at 4:00 p.m. (prevailing Central
Time); provided, however, that any objections to the manner in which the Auction was conducted
and the identity of the Successful Bidder or Backup Bidder may be filed up to 24 hours prior to
the Sale Hearing, or, if the Debtors elect not to proceed with an Auction, two (2) business days
following the notification filed with the Court of such election not to proceed with an Auction.

          CONSEQUENCES OF FAILING TO TIMELY MAKE AN OBJECTION

ANY PARTY OR ENTITY WHO FAILS TO TIMELY MAKE AN OBJECTION TO A
SALE ON OR BEFORE THE SALE OBJECTION DEADLINE IN ACCORDANCE WITH
THE BIDDING PROCEDURES ORDER SHALL BE FOREVER BARRED FROM
ASSERTING ANY OBJECTION TO SUCH SALE, INCLUDING WITH RESPECT TO
THE TRANSFER OF THE SELLING DEBTORS’ PROPERTY FREE AND CLEAR OF
ALL LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS, EXCEPT AS SET
FORTH IN THE STALKING HORSE PURCHASE AGREEMENT.




                                                2
DOCS_LA:351266.1 61051/002
          Case 23-90773 Document 85 Filed in TXSB on 09/21/23 Page 3 of 4




                         NO SUCCESSOR OR TRANSFEREE LIABILITY
            The Sale Order is expected to provide, among other things, that the Successful
    Bidder from the Sale will have no responsibility for, and the Property will be sold free and
    clear of, any successor liability, including the following:
            To the greatest extent allowable by applicable law, the Successful Bidder shall not
    be deemed, as a result of any action taken in connection with the Stalking Horse Purchase
    Agreement (in the case where the Stalking Horse Purchaser is the Successful Bidder) or a
    separate purchase agreement entered into with the Successful Bidder (if the Stalking Horse
    Purchaser is not the Successful Bidder), the consummation of the Sale, or the transfer or
    operation of the Property, to (a) be a legal successor, or otherwise be deemed a successor
    to the Debtors (other than with respect to any obligations as an assignee under the Assigned
    Contracts arising after the effective date); (b) have, de facto or otherwise, merged with or
    into the Debtors; or (c) be an alter ego or mere continuation or substantial continuation of
    the Debtors, in the case of each of (a), (b), and (c), including, without limitation, within the
    meaning of any foreign, federal, state or local revenue law, pension law, the Employee
    Retirement Income Security Act, the Consolidated Omnibus Budget Reconciliation Act,
    the WARN Act (29 U.S.C. §§ 2101 et seq.), the Fair Labor Standard Act, Title VII of the
    Civil Rights Act of 1964 (as amended), the Age Discrimination and Employment Act of
    1967 (as amended), the Federal Rehabilitation Act of 1973 (as amended), the National
    Labor Relations Act (29 U.S.C. § 151, et seq.), environmental liabilities, debts, claims or
    obligations, any liabilities, debts or obligations of or required to be paid by the Debtors for
    any taxes of any kind for any period, labor, employment, or other law, rule or regulation
    (including without limitation filing requirements under any such laws, rules or regulations),
    or under any products liability law or doctrine with respect to the Debtors’ liability under
    such law, rule or regulation or doctrine.
             All rights of any party to set off any claims, debts, or obligations owed by or to the
    Successful Bidder in connection with the assets shall be extinguished on the effective date
    pursuant to the Sale Order. Other than as expressly set forth in the Stalking Horse Purchase
    Agreement (or another Successful Bidder’s purchase agreement, as applicable) with respect
    to assumed liabilities, the Successful Bidder shall not have any responsibility for (a) any
    liability or other obligation of the Debtors or related to the assets or (b) any claims (as such
    term is defined by section 101(5) of the Bankruptcy Code) against the Debtors or any of
    their predecessors or affiliates. To the greatest extent allowed by applicable law, the
    Successful Bidder shall have no liability whatsoever with respect to the Debtors’ (or their
    predecessors’ or affiliates’) respective businesses or operations or any of the Debtors’ (or
    their predecessors’ or affiliates’) obligations based, in whole or part, directly or indirectly,
    on any theory of successor or vicarious liability of any kind or character, or based upon any
    theory of antitrust, environmental, successor or transferee liability, de facto merger or
    substantial continuity, labor and employment or products liability, whether known or
    unknown as of the effective date, now existing or hereafter arising, asserted or unasserted,
    fixed or contingent, liquidated or unliquidated, including liabilities on account of any taxes
    arising, accruing or payable under, out of, in connection with, or in any way relating to the
    operation of the Property prior to the effective date.

                                                   3
DOCS_LA:351266.1 61051/002
          Case 23-90773 Document 85 Filed in TXSB on 09/21/23 Page 4 of 4




        PLEASE TAKE FURTHER NOTICE that the Debtors reserve the right, after
consultation with the Consultation Parties and in their reasonable business judgment and subject
to the exercise of their fiduciary duties, to modify the Bidding Procedures and/or to terminate
discussions with any Potential Bidders at any time, to the extent not materially inconsistent with
the Bidding Procedures.

        PLEASE TAKE FURTHER NOTICE that copies of the Bidding Procedures Motion,
Bidding Procedures, and Bidding Procedures Order, as well as all related exhibits, are available:
free of charge upon request to Epiq by calling 833-909-4386 or visiting the Debtors’ restructuring
website at https://dm.epiq11.com/NobleHouseHomeFurnishings, or for a fee via PACER by
visiting http://www.txs.uscourts.gov.


 Dated: September 21, 2023                       PACHULSKI STANG ZIEHL & JONES LLP

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                                                 Proposed Counsel to the Debtors and Debtors in
                                                 Possession




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DOCS_LA:351266.1 61051/002
